     Case 6:21-cv-00003 Document 6 Filed on 01/24/21 in TXSD Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         VICTORIA DIVISION


STATE OF TEXAS,
                                           Civ. Action No. 6:21-cv-00003

             Plaintiff,

v.

The UNITED STATES OF AMERICA;              ADVISORY REGARDING COURT’S
DAVID PEKOSKE, Acting Secretary of         QUESTION
the United States Department of
Homeland Security, in his official
capacity; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior
Official Performing the Duties of the
Commissioner of U.S. Customs and
Border Protection, in his official
capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE
JOHNSON, Acting Director of U.S.
Immigration and Customs
Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT; TRACY RENAUD,
Senior Official Performing the Duties of
the Director of the U.S. Citizenship and
Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES,

             Defendants.


      At the hearing on Texas’s emergency motion for a temporary restraining order,

the Court asked whether Defendants are releasing the illegal aliens who they refuse

to remove. The answer is yes.
      Case 6:21-cv-00003 Document 6 Filed on 01/24/21 in TXSD Page 2 of 4




       Since the hearing, the press has reported that ICE officials in Texas have been

instructed to not only “stop all removals” but also “[r]elease them all, immediately.” 1

As far as Plaintiff can tell, Defendants have not denied the accuracy of the press

report or the authenticity of the email on which it is based.

       This development highlights the urgent need for relief. Defendants’ refusal to

remove illegal aliens is directly leading to the immediate release of additional illegal

aliens in Texas. That will force the State to spend additional money on Emergency

Medicaid, the Family Violence Program, the Children’s Health Insurance Program,

and public schools. See TRO Mot. at 16–17; Exs. D–E. Texas’s financial injury is

irreparable because “there is no source of recompense.” Texas v. United States, 328 F.

Supp. 3d 662, 737 (S.D. Tex. 2018).

       The State of Texas respectfully requests that the Court either enter a TRO

preventing Defendants from implementing the January 20 Memorandum or postpone

the memorandum’s effective date. As the internal ICE official email illustrates, each

day Defendants are allowed to proceed, they will refuse to remove illegal aliens,

release those aliens, and irreparably injure Texas.




1Tucker Carlson, ‘Release them all, immediately’: Email to ICE officers reveals chaos after
Biden halted deportations, FOX NEWS (Jan. 22, 2020), https://www.foxnews.com/
opinion/release-them-all-immediately-email-to-ice-officers-reveals-chaos-after-biden-halted-
deportations.


                                             2
  Case 6:21-cv-00003 Document 6 Filed on 01/24/21 in TXSD Page 3 of 4




Respectfully submitted this the 24th day of January, 2021,

                                    KEN PAXTON
                                    Attorney General of Texas

                                    BRENT WEBSTER
                                    First Assistant Attorney General

                                    PATRICK K. SWEETEN
                                    Associate Deputy Attorney General for
                                    Special Litigation

                                    /s/ William T. Thompson
                                    WILLIAM T. THOMPSON
                                    Special Counsel
                                    Special Litigation Unit
                                    Attorney-in-Charge
                                    Texas Bar No. 24088531
                                    Southern District of Texas Bar No. 3053077

                                    Special Litigation Division
                                    P.O. Box 12548
                                    Austin, Texas 78711-2548
                                    Phone: (512) 936-2567
                                    Fax: (512) 936-0545
                                    Patrick.Sweeten@oag.texas.gov
                                    Will.Thompson@oag.texas.gov
                                    Kathleen.Hunker@oag.texas.gov
                                    Joseph.Shaneyfelt@oag.texas.gov

                                    Counsel for the State of Texas




                                     3
     Case 6:21-cv-00003 Document 6 Filed on 01/24/21 in TXSD Page 4 of 4




                             CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) on January 24, 2021. A true and accurate copy of the

foregoing document will also be sent to the following addresses:

      Adam.Kirschner@usdoj.gov
      Brian.C.Rosen-Shaud@usdoj.gov
      Brigham.Bowen@usdoj.gov
      Daniel.Hu@usdoj.gov
                                          /s/ William T. Thompson
                                          WILLIAM T. THOMPSON




                                         4
